USCA Case #24-5173     Document #2089351          Filed: 12/12/2024   Page 1 of 39


               ORAL ARGUMENT NOT YET SCHEDULED
                          No. 24-5173


             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


                            HON. PAULINE NEWMAN,
                                             Plaintiff-Appellant,
                                      v.

     HON. KIMBERLY MOORE, in her official capacities as Chief Judge of the
     U.S. Court of Appeals for the Federal Circuit, and Chair of the Special
           Committee of the Judicial Council of the Federal Circuit;
        HON. SHARON PROST, in her official capacity as Member of the
       Special Committee of the Judicial Council of the Federal Circuit;
      HON. RICHARD TARANTO, in his official capacity as Member of the
       Special Committee of the Judicial Council of the Federal Circuit;
            and JUDICIAL COUNCIL OF THE FEDERAL CIRCUIT AND
             ALL MEMBERS THEREOF, in their official capacities,
                                                  Defendants-Appellees.


              On Appeal from the United States District Court
                        for the District of Columbia,
             No. 23-cv-01334-CRC; Hon. Christopher R. Cooper
                                ____________

 BRIEF OF HON. JANICE ROGERS BROWN, HON. PAUL R. MICHEL,
     HON. RANDALL R. RADER, HON. THOMAS I. VANASKIE,
      HON. PAUL G. CASSELL, AND HON. SUSAN G. BRADEN
AS AMICI CURIAE IN SUPPORT OF APPELLANT, URGING REVERSAL


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USCA Case #24-5173       Document #2089351           Filed: 12/12/2024    Page 2 of 39


   CERTIFICATE AS TO PARTIES, RULINGS AND RELATED CASES

      Parties and Amici. All parties and amici appearing before this

Court are listed in the Certificates as to Parties, Rulings, and Related Cases filed

by Appellant, except for the individuals who are filing this amicus curiae brief in

support of Appellant: Hon. Susan Braden, Hon. Janice Rogers Brown, Hon. Paul

Cassell, Hon. Randall Rader, and Hon. Thomas Vanaskie.

      Rulings Under Review. The rulings under review are set forth in the

Certificates as to Parties, Rulings, and Related Cases filed by Appellant.

      Related Cases. Counsel for amici curiae is unaware of any related cases

before this Court.


                                        /s/ Richard A. Samp
                                        Richard A. Samp

Dated: December 12, 2024




                                           i
USCA Case #24-5173       Document #2089351            Filed: 12/12/2024     Page 3 of 39


     RULE 29(d) CERTIFICATE REGARDING SEPARATE FILINGS

      Before filing this brief, I consulted with attorneys with two other

organizations that were interested in participating as amici curiae in support of

Appellant. We determined that it would not be practicable for all the potential

amici to join in a single brief. In particular, the brief I drafted was the only one on

behalf of retired federal judges and thus the only one that sought to make

arguments from the perspective of individuals with federal judicial experience.

Also, unlike the other prospective briefs, this brief focuses largely on whether a

federal statute precludes federal courts from exercising jurisdiction over

Appellant’s constitutional claims.



                                        /s/ Richard A. Samp
                                        Richard A. Samp




                                           ii
USCA Case #24-5173                 Document #2089351                      Filed: 12/12/2024           Page 4 of 39



                                        TABLE OF CONTENTS
                                                                                                                Page

CERTIFICATE AS TO PARTIES, RULINGS AND RELATED CASES . . . . . . . i

RULE 29(d) CERTIFICATE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ii

TABLE OF AUTHORITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . iv

GLOSSARY . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . vii

INTERESTS OF AMICI CURIAE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

STATEMENT OF THE CASE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4

PROCEEDINGS BELOW . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

SUMMARY OF ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

I.       JUDGE NEWMAN IS ENTITLED TO BRING HER CONSTITUTIONAL CLAIMS
         BEFORE AN ARTICLE III COURT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

         A.       Appellees Cannot Overcome the “Strong Presumption” in Favor
                  of Judicial Review . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

         B.       McBryde Does Not Support the District Court’s Dismissal of
                  Judge Newman’s Constitutional Claims . . . . . . . . . . . . . . . . . . . . . . 18

II.      THE JUDICIAL COUNCIL HAS VIOLATED SEPARATION-OF-POWERS
         PRINCIPLES BY REMOVING JUDGE NEWMAN’S JUDICIAL POWERS FOR AN
         INDEFINITE PERIOD OF TIME . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24

CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29


                                                          iii
    USCA Case #24-5173                Document #2089351                      Filed: 12/12/2024            Page 5 of 39



                                         TABLE OF AUTHORITIES
                                                                                                               Page(s)
    Cases:

    Bradley v. Fisher,
      80 U.S. 335 (1871) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
*   Demore v. Kim,
      538 U.S. 510 (2003) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15, 16, 24
    Free Enterprise Fund v. Public Company Accounting Oversight Bd.,
      461 U.S. 477 (2010) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
    Griffith v. Fed. Labor Relations Auth.,
      842 F.2d 487 (D.C. Cir. 1988) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
    Hastings v. Judicial Conference of the United States,
      770 F.2d 1093 (D.C. Cir. 1985) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
*   Johnson v. Robison,
      415 U.S. 361 (1974) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10, 13, 14, 15, 16, 20
*   McBryde v. Committee to Review Circuit Court Conduct and Disability Orders,
      264 F.3d 52 (D.C. Cir.2001) . . . . . . . . . . . . . 9, 11, 18, 19, 20, 21, 22, 23, 24, 27
    Mistretta v. United States,
      488 U.S. 361 (1989) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
    Pierson v. Ray,
      386 U.S. 547 (1967) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
*   SAS Inst., Inc. v. Iancu,
      584 U.S. 357 (2018) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9, 13
    Webster v. Doe,
      486 U.S. 592 (1988) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15, 16
    Williams v. Lew,
      819 F.3d 466 (D.C. Cir. 2016) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

    Statutes, Regulations, and Constitutional Provisions:

*   U.S. Const., Art. I, § 3, cl. 6 (“Impeachment Clause”) . . . . . . . . . . . . 12, 20, 26, 27

    U.S. Const., Art. III, § 1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26


    * Authorities on which we chiefly rely are marked with asterisks

                                                              iv
USCA Case #24-5173                Document #2089351                      Filed: 12/12/2024            Page 6 of 39



                                                                                                              Pages

U.S. Const., amend. i (“Free Exercise Clause”). . . . . . . . . . . . . . . . . . . . . . . . . . . 15

U.S. Const., amend. iv . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

Judicial Disability and Misconduct Act (the “Disability Act”),
  28 U.S.C. §§ 351 et. seq . . . . . . . . . . . . . . . . . . . . . . . . . . . 4, 8, 10, 16, 17, 22, 23
      28 U.S.C. § 351 Statutory Note . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
      28 U.S.C. § 351(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
      28 U.S.C. § 352(c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
      28 U.S.C. § 354 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
      28 U.S.C. § 357(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10, 16
      28 U.S.C. § 357(c) . . . . . . . . 8, 10, 11, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22

21st Century Department of Justice Appropriations Authorization Act,
 Pub. L. No. 107-273, Div. C, Title I, Subtitle C, § 11044, 116 Stat. 1758,
 1856 (Nov. 2, 2002). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22, 23

8 U.S.C. § 1226(e) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15

28 U.S.C. § 372(c)(10) (2001) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

28 U.S.C. § 1331 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13

38 U.S.C. § 211(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14

Fed.R.Civ.P. 12(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5, 6

Fed.R.Civ.P. 12(b)(1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

Fed.R.Civ.P. 12(b)(6) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8




                                                          v
USCA Case #24-5173              Document #2089351                    Filed: 12/12/2024          Page 7 of 39



                                                                                                       Pages
Miscellaneous:

Federal Circuit Special Committee, Report and Recommendation
 (July 31, 2003), https://tinyurl.com/4az95aat . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

Federal Circuit Judicial Council Order
 (Sept. 6, 2024), https://tinyurl.com/2vs2v627. . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

Judicial Conduct and Disability Committee of the Judicial Conference,
  In re Complaint of Judicial Misconduct, C.C.D. 23-01 (February 7, 2024) . . . . 6

Rules for Judicial-Conduct and Judicial-Disability Proceedings,
 Commentary on Rule 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17




                                                      vi
USCA Case #24-5173   Document #2089351           Filed: 12/12/2024   Page 8 of 39



                               GLOSSARY


Disability Act        Judicial Disability and Misconduct Act, 28 U.S.C.
                      §§ 351 et. seq.

JA                    Joint Appendix

J&CD                  Judicial Conduct and Disability Committee of the
                      Judicial Conference

Judicial Council      Judicial Council of the Federal Circuit

Special Committee     Special Committee established by Chief Judge Kimberly
                      A. Moore of the Federal Circuit in March 2023 to
                      investigate her complaint against Judge Pauline Newman

VA                    Veterans’ Administration




                                    vii
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024   Page 9 of 39



                       INTERESTS OF AMICI CURIAE1

      Hon. Janice Rogers Brown served as a Judge on the United States Court of

Appeals for the District of Columbia Circuit from 2005 to 2017. From 1996 to

2005, she served as an Associate Justice on the California Supreme Court.

      Hon. Paul R. Michel served as a Judge on the United States Court of

Appeals for the Federal Circuit from 1988 to 2010. He served as Chief Judge of

that court from 2004 to 2010.

      Hon. Randall Ray Rader served as a Judge on the United States Court of

Appeals for the Federal Circuit from 1990 to 2014. He served as Chief Judge of

that court from 2010 to 2014.

      Hon. Thomas I. Vanaskie served as a Judge on the United States Court of

Appeals for the Third Circuit from 2010 to 2019. He served as a Judge on the

United States District Court for the Middle District of Pennsylvania from1994 to

2010; he served as Chief Judge of that court from 1999 to 2006.

      Hon. Paul G. Cassell served as a Judge on the United States District Court

for the District of Utah from 2002 to 2007. He is currently a Presidential




      1
        Amici curiae state that no counsel for a party authored this brief in whole
or in part; and that no person or entity, other than their counsel, made a monetary
contribution intended to fund the preparation and submission of this brief. All
parties have consented to the filing of the brief.
USCA Case #24-5173       Document #2089351          Filed: 12/12/2024    Page 10 of 39



Professor of Criminal Law and a University Distinguished Professor at the

University of Utah.2

      Hon. Susan G. Braden served as a Judge on the United States Court of

Federal Claims from 2003 to 2019. She was designated by the President as Chief

Judge in 2017, assumed senior status in 2018, and retired from the bench in 2019.

      Each of the amici has a strong interest in ensuring that all federal judges are

at liberty to exercise their functions with complete independence and are afforded

a judicial forum within which to raise constitutional claims.

                                 INTRODUCTION

      Judge Pauline Newman has served with distinction on the United States

Court of Appeals for the Federal Circuit since shortly after its creation in 1982.

Her many dissents may, on occasion, have irritated some of her judicial

colleagues, but those opinions routinely have been vindicated by the U.S. Supreme

Court—including as recently as this year. Physicians who have examined her

recently all have concluded that she is cognitively sharp, an opinion shared by

members of the patent bar who have witnessed her recent public appearances.

Neither the medical experts nor anyone else has concluded that Judge Newman is

disabled or otherwise incapable of performing her judicial duties.

      2
          Current employment listed for identification purposes only.

                                          2
USCA Case #24-5173       Document #2089351          Filed: 12/12/2024    Page 11 of 39



      Nonetheless, Judge Newman effectively has been removed from judicial

office by Appellees. In response to her decision to decline a medical examination

by doctors of their choice, Appellees removed Judge Newman from all judicial

activities—including hearing cases, writing opinions, and voting on petitions to

hear cases en banc. The initial order imposed a one-year suspension, but

Appellees in September 2024 renewed the suspension for another year and made

clear that the suspension would continue indefinitely until Judge Newman

acquiesced to their examination demands She responded by filing suit in district

court, alleging that she has been removed from office in violation of her

constitutional rights. Instead of addressing the merits of those constitutional

issues, the district court dismissed Judge Newman’s claims largely on the ground

that judicial review was precluded.

      That holding cuts against the strong presumption that all U.S. citizens are

entitled to have their federal constitutional claims heard in a federal court. This

presumption only can be overcome by clear and convincing evidence that

Congress meant to foreclose review, evidence that is lacking here. Judge Newman

is entitled to her day in court.

      Moreover, the facts alleged by Judge Newman state a valid claim. The

Constitution assigns to the U.S. Senate alone the power to remove Article III

                                          3
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024    Page 12 of 39



judges from office. By suspending Judge Newman for an indefinite period and

thereby effectively removing her from judicial office, Appellees have usurped that

authority and directly challenge the independence of all federal judges.

                          STATEMENT OF THE CASE

      The Judicial Disability and Misconduct Act, 28 U.S.C. §§ 351 et. seq.,

enacted by Congress in 1980, authorizes the Judicial Council of each federal

circuit to conduct investigations into alleged misconduct or disability of circuit

and district judges sitting within that circuit. The Disability Act authorizes the

Chief Judge of each U.S. Court of Appeals to issue an order that “identif[ies] a

complaint” against another judge, thereby setting in motion an investigatory

process. 28 U.S.C. § 351(b).

      Citing that statutory procedure, Federal Circuit Chief Judge Kimberly

Moore in March 2023 filed a complaint stating that “there is probable cause to

believe that Judge Newman’s health has left her without the capacity to perform

the work of an active judge.”3 Judge Moore thereafter appointed a three-judge

“Special Committee” (naming herself as one of the three members) to investigate


      3
        Appellees have rejected Judge Newman’s repeated requests that they
transfer proceedings to the Judicial Council of another circuit. Such transfers are
the norm in proceedings of this nature, given the significant potential for conflicts
of interest.

                                          4
USCA Case #24-5173      Document #2089351          Filed: 12/12/2024    Page 13 of 39



this allegation. Judge Moore also announced that Judge Newman would be

assigned no new cases until the disability proceedings were concluded. 4

      In April 2023, the Special Committee issued orders directing Judge

Newman to turn over all her medical records for the previous two years and to

submit to extensive medical testing by doctors selected by the Committee without

input by Judge Newman.5 Dismayed by the inaccuracy of many of the Special

Committee’s statements regarding her medical history and its unreasonable time

demands, Judge Newman declined to be examined by the doctors selected by the

Committee. Instead, she submitted reports from three medical experts who

examined her (two in 2023 and a third in 2024). Each of the experts concluded

that Judge Newman’s cognitive abilities are fully intact and there is no reason to




      4
        One initial rationale for the no-new-case-assignment order was that Judge
Newman had a backlog of unissued opinions in pending cases. Judge Newman,
however, issued an opinion in the last of her pending cases in November 2023,
and Chief Judge Moore no longer relies on that rationale. Judge Newman has
been barred from exercising any of her judicial powers since that date, and she has
not sat on any three-judge or en banc panels since March 2023.
      5
         The factual statements herein are drawn from Judge Newman’s Amended
Complaint. JA 31-63. Because the case comes to the Court on appeal from the
district court’s grant of Appellees’ Rule 12(b) motions to dismiss, all well-pleaded
factual allegations must be accepted as true for purposes of this appeal. See
Williams v. Lew, 819 F.3d 466, 472 (D.C. Cir. 2016).

                                         5
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024    Page 14 of 39



believe that she is or would be unable to perform the functions of her judicial

office.

      The Special Committee stated in July 2023 that Judge Newman’s failure to

“cooperate” with its investigation by submitting to its mandated medical tests

constituted misconduct. It recommended to the Judicial Council that, as

punishment, Judge Newman “not be permitted to hear any cases, at the panel or en

banc level, for a period of one year ... subject to consideration of renewal.” July

31, 2023 Report & Recommendation at 109, https://tinyurl.com/4az95aat. The

Special Committee made no finding regarding whether Judge Newman’s health

was such that she lacked the capacity to perform the work of an active judge. On

September 20, 2023, the Judicial Council approved the Committee’s one-year-

suspension recommendation.

      Judge Newman appealed that decision to the Judicial Conduct and

Disability Committee of the Judicial Conference (JC&D). On February 7, 2024,

the JC&D affirmed. In re Complaint of Judicial Misconduct, C.C.D. 23-01. It

concluded that Chief Judge Moore and the Judicial Council had not abused their

discretion in rejecting Judge Newman’s request that the complaint be transferred

to another Judicial Council, and that the Judicial Council had not exceeded its

statutory authority in imposing its sanction. Notably, the JC&D did not address

                                          6
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024    Page 15 of 39



any of Judge Newman’s constitutional claims, including her claim that the Judicial

Council exceeded its constitutional authority by effectively removing her from

judicial office.

       On September 6, 2024, the Judicial Council, acting at the recommendation

of the Special Committee, renewed its suspension for a second year. Sept. 6,

2024 Judicial Council Order, https://tinyurl.com/2vs2v627. The Special

Committee recommended that this second one-year suspension be “subject to

renewal if the refusal to cooperate found here continues after that time” (emphasis

added) and termed Judge Newman’s refusal to be examined by the Committee’s

doctors “a serious form of continuing misconduct.”

                            PROCEEDINGS BELOW

       While the initial Judicial Council proceedings were still pending, Judge

Newman filed suit for injunctive relief in U.S. District Court for the District of

Columbia against all members of the Special Committee and all members of the

Federal Circuit Judicial Council, in their official capacities. The Amended

Complaint, filed on June 29, 2023, is divided into 11 counts and claims numerous

constitutional and statutory violations. JA 31-63. Most pertinent here are Counts

I, II, and III, which allege that Appellees have removed Judge Newman from the




                                          7
USCA Case #24-5173      Document #2089351            Filed: 12/12/2024    Page 16 of 39



federal bench and that those efforts violate (among other things) separation-of-

powers provisions of the U.S. Constitution. JA 51-54.

      In response to Appellees’ Rule 12(b) motion to dismiss, the district court on

February 2, 2024 dismissed Counts I, II, and III, together with much of the rest of

the Amended Complaint. JA 147-182. The court began its analysis by

determining whether those three counts should be classified as as-applied

constitutional challenges or facial challenges. The court interpreted Counts II and

III as as-applied challenges to Appellees’ efforts to remove Judge Newman from

office. It interpreted Count I as a facial challenge to a provision of the Disability

Act, 28 U.S.C. § 354, which authorizes Judicial Councils to impose sanctions

(including temporary no-case-assignment orders) on judges. JA 178.

      The court held that the Disability Act’s review provision, 28 U.S.C.

§ 357(c), deprives federal courts of jurisdiction over as-applied constitutional

challenges to Judicial Council orders and, on that basis, it dismissed Counts II and

III under Rule 12(b)(1). JA 168-69. The court stated that the review provision did

not bar facial challenges to Judicial Council orders and thus held that it possessed

subject matter jurisdiction over Count I. But it then dismissed Count I under Rule

12(b)(6), ruling that the facial challenge fails because § 354 has at least some

constitutional applications—even if Judge Newman were correct that it was being

                                          8
USCA Case #24-5173       Document #2089351           Filed: 12/12/2024    Page 17 of 39



applied to her in an unconstitutional manner. JA 178-80. The court asserted that

both of its rulings were mandated by this Court’s decision in McBryde v.

Committee to Review Circuit Council Conduct and Disability Orders, 264 F.3d 52

(D. C. Cir. 2001). JA 168.6

                          SUMMARY OF ARGUMENT

      The federal courts have jurisdiction to hear Judge Newman’s constitutional

challenge to the Judicial Council’s alleged efforts to remove her from the federal

bench. The district court’s decision to the contrary fails to give effect to the

“strong presumption” in favor of judicial review of administrative action, “which

applies in a particularly rigorous fashion ... when constitutional claims are at

stake.” Griffith v. Fed. Labor Relations Auth., 842 F.2d 487,494 (D.C. Cir. 1988).

That presumption can be overcome only by “clear and convincing indications that

Congress meant to foreclose review.” SAS Inst., Inc. v. Iancu, 584 U.S. 357, 370

(2018).

      As supposed evidence of congressional intent to foreclose judicial review of

Judge Newman’s as-applied constitutional challenges, the district court pointed to


      6
        On July 9, 2024, the district court granted Appellees’ motion for judgment
on the pleadings on Judge Newman’s remaining claims. The court held that the
Disability Act is not void for vagueness, and it rejected Judge Newman’s Fourth
Amendment facial challenge. JA 201-215.

                                           9
USCA Case #24-5173       Document #2089351           Filed: 12/12/2024    Page 18 of 39



28 U.S.C. § 357(c), which imposes some limitations on judicial review of Judicial

Council “orders and determinations.” But § 357(c) makes no mention of

constitutional claims. A statute cannot be deemed to provide the requisite “clear

and convincing indications” of an intent to preclude constitutional challenges

when it fails to address the issue directly. Johnson v. Robison, 415 U.S. 361, 366-

67 (1974).

      Indeed, the district court conceded that § 357(c) authorizes federal courts to

exercise jurisdiction over at least some constitutional challenges to Judicial

Council actions: challenges that raise facial claims. But given that § 357(c) makes

no mention whatsoever of constitutional challenges, the statute provides no basis

for the district court’s purported jurisdictional distinction between facial and as-

applied constitutional claims. Congress surely would have no less reason to

provide Judge Newman with a judicial forum if she alone were suffering

constitutional injury than if Judicial Councils were imposing the same

constitutional injuries on others as well.

      Denying a judicial forum to Judge Newman is particularly harsh because

she has absolutely nowhere else to turn for redress. The Disability Act grants her

a right to petition to the JC&D for review of Judicial Council decisions. 28 U.S.C.

§ 357(a). But the JC&D has consistently taken the position that it will not decide

                                             10
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024    Page 19 of 39



constitutional challenges to Judicial Council actions, and it did not address any of

Judge Newman’s constitutional claims.

       The district court held that its no-jurisdiction ruling was mandated by this

Court’s McBryde decision. The district court’s reliance on McBryde was

misplaced, for several reasons. First, the decision was narrow; it did not purport to

rule out all as-applied constitutional challenges to Judicial Council rulings. In

particular, McBryde clearly stated that claims of the type that Judge Newman is

raising—that a Judicial Council is seeking to effectively remove an Article III

judge from her position in violation of the Constitution—are not barred by

§ 357(c). McBryde, 264 F.3d at 65. Second, congressional legislation adopted

after McBryde was decided strongly suggests that McBryde’s interpretation of

§ 357(c) as it existed in 2001 is no longer binding. Moreover, subsequent

Supreme Court decisions call into question McBryde’s approach to construing

jurisdiction-limiting statutes—and suggest that McBryde’s holding should be

limited to its facts.

       Turning to the merits, the Court should rule that Judge Newman’s

separation-of-powers allegations state a claim upon which relief can be granted.

Judge Newman has pleaded facts rendering plausible her claim that Appellees are

seeking to remove her from office. They have renewed the suspension of her

                                         11
USCA Case #24-5173       Document #2089351          Filed: 12/12/2024    Page 20 of 39



judicial powers for a second year and have made plain their intent to continue that

suspension for as long as she continue to refuse their medical-examination

demands. Such conduct amounts to a de facto removal from office, a power that is

denied to the judiciary under the Constitution. Instead, the Impeachment Clause,

Art. I, § 3 cl. 6, assigns that power “sole[ly]” to the U.S. Senate. The Special

Committee asserts that Judge Newman’s refusal to acquiesce to its medical

demands constitutes “a serious form of continuing misconduct.” If it considers the

misconduct sufficiently serious to warrant removal from office, its proper course is

to refer the matter to Congress for possible impeachment and trial, not to act

unilaterally.

                                   ARGUMENT

I.    JUDGE NEWMAN IS ENTITLED TO BRING HER CONSTITUTIONAL
      CLAIMS BEFORE AN ARTICLE III COURT

      A.        Appellees Cannot Overcome the “Strong Presumption” in
                Favor of Judicial Review

      Federal court jurisdiction has always served as a critical safeguard of

individual liberties. That protection is a vital check against the modern

administrative state. In their wisdom, the Framers recognized the importance of an

independent judiciary to protect constitutional rights and prevent government

abuse. Congress reinforced those protections by adopting a broad jurisdictional

                                         12
USCA Case #24-5173       Document #2089351           Filed: 12/12/2024    Page 21 of 39



statute, 28 U.S.C. § 1331, which grants federal district courts “original jurisdiction

of all civil actions arising under the Constitution.” Included within this grant of

jurisdiction is the power “to issue injunctions ... to protect rights safeguarded by

the Constitution.” Free Enterprise Fund v. Public Company Accounting

Oversight Bd., 461 U.S. 477, 491 n.2 (2010).

      Congress is permitted to adopt legislation that imposes limits on federal

district court jurisdiction, but courts have been very reluctant to interpret federal

statutes as barring jurisdiction over constitutional claims because of the threat to

liberty posed by any such interpretation. Robison, 415 U.S. at 366 (construing a

statute as barring challenges to the constitutionality of a federal law as applied

“would, of course, raise serious questions concerning the constitutionality” of the

statute). Because of those concerns, the Supreme Court has created a “strong

presumption” that district courts possess jurisdiction to hear such challenges and

has stated that the presumption can be overcome only by “clear and convincing

indications that Congress meant to foreclose review.” SAS Inst., 584 U.S. at 370.

      The district court held that the Disability Act’s review provision, 28 U.S.C.

§ 357(c), clearly and convincingly indicates that Congress intended to preclude




                                          13
USCA Case #24-5173       Document #2089351           Filed: 12/12/2024    Page 22 of 39



judicial review of all of Judge Newman’s as-applied constitutional claims. 7 But

§ 357(c) says nothing about whether its limitations on judicial review of Judicial

Council actions apply to constitutional claims—whether facial or as-applied.

Robison held that the absence of explicit reference to “constitutional claims” in a

statute limiting review of Veterans Administration determinations indicated that

the statute failed to provide the requisite “clear and convincing evidence” that

Congress intended to bar the plaintiff from raising either facial or as-applied

challenges to a VA determination. 415 U.S. at 366-67.8


      7
        28 U.S.C. § 357(c) states: “Except as expressly provided in this section
and section 352(c), all orders and determinations, including denials of petitions for
review, shall be final and conclusive and shall not be judicially reviewable on
appeal or otherwise.”
      8
        The review provision at issue in Robison, 38 U.S.C. § 211(a), stated in
pertinent part:

      [T]he decisions of the Administrator on any question of law or fact
      under any law administered by the Veterans' Administration providing
      benefits for veterans and their dependents or survivors shall be final and
      conclusive and no other official or any court of the United States shall
      have power or jurisdiction to review any such decision by an action in
      the nature of mandamus or otherwise.

Like Judge Newman, the plaintiff in Robison raised both facial and as-applied
constitutional challenges to the statute that denied him veterans’ educational benefits;
the VA denied benefits even though he (in his status as a conscientious objector to
military service) had completed “alternative civilian service.” He alleged that even
if the statute could constitutionally be applied to other civilians, it could not be
applied constitutionally to him because his religious beliefs compelled him not to join

                                          14
USCA Case #24-5173       Document #2089351            Filed: 12/12/2024    Page 23 of 39



      The Supreme Court reached a nearly identical result in Demore v. Kim, 538

U.S. 510 (2003). That case involved a resident alien who filed a habeas corpus

petition seeking review of the decision to deny him bail pending completion of

removal proceedings. The relevant judicial review statute stated:

      The Attorney General’s discretionary judgment regarding the
      application of this section shall not be subject to review. No court may
      set aside any action or decision by the Attorney General under this
      section regarding the detention or release of any alien or the revocation,
      or denial of bond or parole.

8 U.S.C. § 1226(e).

      Demore held that § 1226(e) did not clearly and convincingly bar judicial

review and thus held that federal courts possessed jurisdiction to hear the alien’s

facial and as-applied constitutional challenge to the detention statute. 538 U.S. at

517. The Court noted that “[s]ection 1226(e) contains no explicit provision

barring habeas review,” and added, “This Court has held that ‘where Congress

intends to preclude judicial review of constitutional claims its intent to do so must

be clear.’” Ibid. (quoting Webster v. Doe, 486 U.S. 592, 603 (1988)).




the military—and thus to deny him veterans’ benefits interfered with his rights under
the Free Exercise Clause. Robison held that the plaintiff could seek review of all of
his constitutional claims in federal court; it did not distinguish between facial and as-
applied challenges.

                                           15
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024    Page 24 of 39



      Despite 28 U.S.C. § 357(c)’s omission of any reference to constitutional

claims, the district court concluded that the statute barred Judge Newman’s as-

applied constitutional challenge because its “bar on judicial review does not

contain ... limiting language.” JA 167. That statutory analysis focuses on the

wrong issue. The statutes at issue in Robison, Webster, and Demore that curtailed

judicial review also did not contain “limiting language.” But the Supreme Court

held that the key to discerning congressional intent was not the absence of limiting

language, but rather the absence of language expressly precluding constitutional

challenges. In the absence of such language or other similar indications of

congressional intent, Congress is presumed to have authorized district courts to

hear constitutional challenges.

      Moreover, the district court failed to address the serious constitutional

dilemma arising from its construction of § 357(c). That construction deprives

Judge Newman of any forum within which to seek redress for the constitutional

injury inflicted on her by the manner in which Appellees are applying the

Disability Act. The Disability Act grants her a right to petition to the JC&D for

review of Judicial Council decisions. 28 U.S.C. § 357(a). But the JC&D has

consistently taken the position that it will not decide constitutional challenges to

Judicial Council actions, and it did not address any of Judge Newman’s

                                          16
USCA Case #24-5173       Document #2089351          Filed: 12/12/2024    Page 25 of 39



constitutional claims. And even if the JC&D could be persuaded to change its

position, Judge Newman would still be deprived of the right to seek vindication of

constitutional rights in a court of law.9

      Under the district court’s rationale, Judicial Council/JC&D decisions are

unreviewable regardless of how outrageous they may be. Even if a Judicial

Council based its decisions on the flip of a coin or by subjecting Judge Newman to

“trial by ordeal,” she would have no right to challenge the constitutionality of such

decisions in a court of law. Congress is highly unlikely to have countenanced

such a result when it adopted § 357(c).

      Given that § 357(c) is silent regarding constitutional claims, it is equally

unlikely that Congress would have intended to bar all as-applied constitutional

claims while simultaneously authorizing facial constitutional challenges. If (as

      9
        That Article III judges sit on both the Judicial Council and the JC&D does
not change the fact that those two groups are administrative bodies that do not
exercise judicial powers—and thus Judge Newman’s ability to raise her
constitutional claims with those bodies does not mean that she is able to raise her
claims before a court. This Court has recognized that Judicial Councils are
administrative bodies. Hastings v. Jud. Conf. of U.S., 770 F.2d 1093, 1102 (D.C.
Cir. 1985). Similarly, the Rules implementing the Disability Act recognize that
the Act “establishes an administrative, inquisitional process.” See Rules for
Judicial-Conduct and Judicial-Disability Proceedings, Commentary on Rule 3.
The Supreme Court has recognized that Article III judges frequently perform roles
of an administrative nature and that when they do so, they are not exercising their
judicial powers. See, e.g., Mistretta v. United States, 488 U.S. 361, 384-85 (1989).


                                            17
USCA Case #24-5173       Document #2089351           Filed: 12/12/2024    Page 26 of 39



Judge Newman alleges) the Judicial Council is applying the Disability Act to her

in an unconstitutional manner, there is no plausible reason why Congress would

have chosen to deny judicial recourse to her for that constitutional violation if it

had authorized district courts to hear her claims whenever those same

constitutional injuries are being inflicted on all others. The district court pointed

to no statutory language to support its decision to adopt that counter-intuitive

construction of § 357(c).

      B.     McBryde Does Not Support the District Court’s Dismissal of
             Judge Newman’s Constitutional Claims

      The district court stated that its principal holding—that § 357(c) prevented

it from exercising jurisdiction over Judge Newman’s as-applied constitutional

challenge to her effective removal from office—was mandated by this Court’s

McBryde holding. The court’s reliance on McBryde was misplaced, for several

reasons.

      McBryde arose in an entirely different factual context. The case involved

John McBryde, a Texas district court judge who had been sanctioned following an

investigation of an alleged pattern of “abusive behavior” that spanned his entire

judicial career. The sanctions imposed by the Fifth Circuit Judicial Council

included: (1) a public reprimand; (2) suspension of new case assignments for a


                                          18
USCA Case #24-5173         Document #2089351         Filed: 12/12/2024     Page 27 of 39



period of one year; and (3) a three-year disqualification from presiding over cases

involving any of the 23 lawyers involved in the investigation. 264 F.3d at 54. By

the time the case reached this Court, both the one-year suspension and the three-

year disqualification had expired; thus, the Court dismissed challenges to those

sanctions as moot without deciding whether § 357(c) would have barred

consideration of McBryde’s as-applied constitutional challenges to those

sanctions. Id. at 55-56.

      The Court held that McBryde’s as-applied constitutional challenge to the

public reprimand was not moot (because it had a continuing impact on McBryde’s

reputation), but it ruled that § 357(c)10 deprived federal courts of jurisdiction to

consider that challenge. Id. at 58-63. Conversely, the Court held that § 357(c) did

not bar consideration of two other constitutional claims asserted by Judge

McBryde: (1) the impeachment power in Congress is the only constitutionally

permissible means of sanctioning an Article III judge, and the Disability Act is

thus facially unconstitutional because it purports to authorize imposition of

sanctions by Judicial Councils; and (2) the Disability Act is facially

unconstitutional for the additional reason that “the principle of judicial


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        When McBryde came before the Court in 2001, § 357(c) was codified as
28 U.S.C. § 372(c)(10).

                                          19
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024      Page 28 of 39



independence implicit in Article III bars discipline of judges for actions in any

way connected to his actions while on the bench.” Id. at 649 (emphasis in

original).11

       In sum, McBryde’s holding was limited to the following holdings: (1)

§ 357(c) precludes judicial consideration of as-applied constitutional challenges to

Judicial Council public reprimands; and (2) § 357(c) is not a bar to all

consideration of constitutional challenges to Judicial Council orders—particularly

facial challenges. Neither of those holdings has direct application to the issue

presented here: whether Judge Newman may bring an as-applied challenge to

Appellees’ efforts to remove her from the federal bench. The district court’s

conclusion that its dismissal of Judge Newman’s challenge was mandated by

McBryde is without merit.

       Indeed, several passages in McBryde strongly suggest that the Court did not

believe that § 357(c) bars claims akin to Judge Newman’s. For example, the Court

took pains to distinguish McBryde’s challenge to the public reprimand—which it

       11
         The Court said that its holding that the two facial constitutional
challenges were not precluded by § 357(c) was mandated by the Supreme Court’s
Robison decision. Id. at 58. But as noted above, Robison held that neither the as-
applied nor the facial constitutional challenges at issue in that case were precluded
by the applicable VA review statute. Robison, 415 U.S. at 366-67. This Court did
not explain why it believed that Robison’s analysis applied to Judge McBryde’s
facial claims but not his as-applied claim.

                                         20
USCA Case #24-5173       Document #2089351           Filed: 12/12/2024     Page 29 of 39



deemed barred by § 357(c)—from challenges to more severe sanctions such as

“removal and salary diminution,” McBryde, 264 F.3d at 65, thereby suggesting

that federal courts might be authorized to hear as-applied constitutional challenges

to those more severe sanctions.

      The Court’s Footnote 5 makes a similar suggestion. After discussing the

possibility that a Judicial Council’s “removal or disqualification” of an Article III

judge might violate the Constitution’s Impeachment Clause and then opining that

the reprimand sanction imposed on Judge McBryde “bears no resemblance to

removal or disqualification,” id. at 67, the Court observed in Footnote 5:

“Obviously, we do not decide whether a long-term disqualification from cases

could, by its practical effect, [e]ffect an unconstitutional removal.” Id. at 67 n.5.

Of course, Judge Newman’s claim is precisely the one described by the Court.

The Footnote suggests at the very least that McBryde is not foreclosing the

possibility of exercising jurisdiction over as-applied challenges to long-term

disqualifications, and it likely also suggests that exercise of such jurisdiction is

permissible.12

      12
         The district court’s February 12, 2024 decision takes note of Footnote 5 in
connection with its discussion of Judge Newman’s facial challenge to her long-
term disqualification. While acknowledging that Footnote 5 left open the
possibility that the Constitution bars Judicial Councils from imposing long-term
disqualifications, the court said it did not need to address that issue because it

                                          21
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024    Page 30 of 39



      Moreover, McBryde’s holding that at least some constitutional challenges

are not barred by § 357(c) indicates that the district court’s heavy reliance on that

decision was misplaced. McBryde held that as-applied constitutional challenges to

public reprimands are barred while some other constitutional challenges are not

barred. But the Court eschewed any effort to draw a bright line between those

claims that are subject to §357(c) and those that are not. In the absence of such a

bright line, the district court’s conclusion that McBryde dictates dismissal of Judge

Newman’s as-applied constitutional challenge to her long-term disqualification is

implausible.

      Legislation adopted by Congress in 2002—one year after the Court released

its McBryde decision—provides additional reason to question the district court’s

finding that McBryde is controlling and categorically prohibits as-applied

challenges to Judicial Council actions. That legislation, the 21st Century

Department of Justice Appropriations Authorization Act, Pub. L. No. 107-273,

Div. C, Title I, Subtitle C, § 11044, 116 Stat. 1758, 1856 (Nov. 2, 2002) (codified

as Note to 28 U.S.C. § 351), adopted a provision that expressly acknowledged that




concluded that Judge Newman’s facial challenge did not (for other reasons) state
an actionable claim. JA 179. But the court completely failed to confront Footnote
5’s significance to the § 357(c) preclusion issue.

                                          22
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024    Page 31 of 39



the Disability Act is subject to as-applied constitutional challenges. 13 By

amending the Disability Act in that manner, Congress expressed its understanding

that § 357(c) does not categorically preclude all federal-court as-applied

constitutional challenges to Judicial Council actions.

      The district court’s response to this argument is unpersuasive. The court

acknowledged that the amendment recognizes that as-applied constitutional

challenges could result in action taken by a Judicial Council pursuant to the

Disability Act being found unconstitutional. JA 163 n.6. But the court suggested

that Congress might have contemplated that it was the JC&D, not a federal court,

that was authorized to issue such an order. Ibid. That suggestion is nonsensical.

First, the JC&D has never asserted the right to issue constitutional decisions.

Second, unlike decisions issued by an Article III court, JC&D decisions have no

binding effect beyond their effect on the parties to the misconduct/disability

proceeding. Thus, a JC&D decision overturning a Judicial Council decision on

      13
         The legislation added a “savings clause” to the Disability Act. That
clause provides that if any portion of the Disability Act “or the application of such
provision … to any person or circumstance is held to be unconstitutional, the
remainder of [the Disability Act] and the application of the provisions of such to
any person or circumstance shall not be affected thereby.” 28 U.S.C. § 351
Statutory Note (emphasis added). The legislation thereby acknowledges that the
application of a Disability Act provision to a judge could become the subject of an
as-applied constitutional challenge and might be held to be unconstitutional as
applied.

                                         23
USCA Case #24-5173      Document #2089351            Filed: 12/12/2024    Page 32 of 39



constitutional grounds could have no effect on operation of the Disability Act, and

there would be no reason to adopt a “savings clause” to guard against potential

effects of such decisions.

      Finally, McBryde’s decision to distinguish between as-applied and facial

claims (with respect to the scope of statutes that limit judicial review) has not

stood the test of time. In the 23 years since that decision issued, the Supreme

Court on a number of occasions has been asked to determine whether a judicial-

review statute precludes judicial review of constitutional claims. In no instance

has the Court suggested that the strength of the “strong presumption” of

reviewability of constitutional claims varies based on whether the claim is facial or

as-applied. For example, Demore held that an alien’s constitutional challenge to

detention-pending-removal could be heard in federal court despite a broadly

worded statute that seemingly barred such challenges, and the Court made no

effort to determine whether the challenge should be deemed facial or as-applied.

Demore, 538 U.S. at 516-17. In sum, the district court’s holding draws no support

from McBryde; that case did not decide the issues presented here, and much of

what the Court had to say in that decision has been overtaken by subsequent

events.




                                          24
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024    Page 33 of 39



II.   THE JUDICIAL COUNCIL HAS VIOLATED SEPARATION-OF-POWERS
      PRINCIPLES BY REMOVING JUDGE NEWMAN’S JUDICIAL POWERS
      FOR AN INDEFINITE PERIOD OF TIME

      Judge Newman alleges that Appellees are seeking to remove her from

office. The uncontested facts demonstrate that: (1) on September 20, 2023, the

Judicial Council suspended her for one year from hearing any cases at the panel or

en banc level, based on her refusal to cooperate with the Special Committee’s

investigation (e.g., her refusal to submit to medical examination by doctors chosen

by the Judicial Council); (2) on September 6, 2024, the Judicial Counsel renewed

its suspension for a second year; (3) in recommending the September 2024

extension of Judge Newman’s suspension, the Special Committee stated that the

suspension is “subject to renewal if the refusal to cooperate here continues after”

completion of the second year of suspension.

      Those facts demonstrate Appellees’ intent to deprive Judge Newman of her

judicial authority for an indefinite period of time—at least until such time as she

abandons her contention that it is they and not she who are engaging in

misconduct. Appellees’ long-term deprivation of Judge Newman’s judicial

authority is impossible to distinguish from an outright removal from office given

her advanced age. At age 97, Judge Newman has a short life expectancy, and a




                                         25
USCA Case #24-5173       Document #2089351           Filed: 12/12/2024    Page 34 of 39



multi-year suspension can plausibly be interpreted as an effort to run out the clock

on her life.

       Based on the above, Judge Newman has stated a valid claim that Appellees

have violated her rights under separation-of-powers provisions of the U.S.

Constitution. Article III, Section 1 states that federal judges “shall hold their

offices during good behavior,” and they can be removed from office only through

a vote of impeachment by the U.S. House of Representatives and a trial and

conviction by the Senate. See Art. I, § 3, cl. 6 (stating that “The Senate shall have

the sole power to try all Impeachments”) (emphasis added). In other words, a

Judicial Council effort to remove a judge from office violates the Constitution by

impinging on powers delegated solely to the Senate.

       At the very least, Judge Newman is entitled to reversal of the district court’s

dismissal of Counts II and III. Those counts plausibly allege that Appellees’

actions have effected her de facto removal from the bench, and that the

Constitution expressly prohibit anyone other than the U.S. Senate from taking

those actions. And unless Appellees can supply the Court with substantial

evidence that Judge Newman is not actually subject to an indefinite suspension, it

should grant her motion for injunctive relief and enter judgment in her favor on

Counts II and III.

                                          26
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024    Page 35 of 39



      The Special Committee asserts that Judge Newman’s refusal to acquiesce to

its medical demands constitutes “a serious form of continuing misconduct.” But

that assertion cannot justify Appellees’ decision to suspend Judge Newman

indefinitely—a suspension which currently stands at two years and which

Appellees threaten to lengthen unless Judge Newman acquiesces to their demands.

If Appellees consider the alleged misconduct sufficiently serious to warrant

removal from office, their proper course is to refer the matter to Congress for

possible impeachment and trial. What they may not do is take it upon themselves

to effectively remove Judge Newman from office by suspending her

indefinitely.

      McBryde appears to agree with our contention that a Judicial Conference’s

indefinite suspension of an Article III judge runs afoul of the Impeachment

Clause. Judge McBryde argued that the Framers’ decision to place the

impeachment power in Congress implies that no other branch of government is

entitled to discipline judges in any manner. The Court rejected that argument as

applied to the type of discipline at issue in the case (a public reprimand of Judge

McBryde). But it stated in dicta that the Impeachment Clause bars anyone other

than the Senate from removal or “disqualification” of a judge. McBryde, 264 F.3d




                                         27
USCA Case #24-5173      Document #2089351          Filed: 12/12/2024   Page 36 of 39



at 67 (stating that “the claim of implied negation from the impeachment power

works well for removal or disqualification.”).

      Amici are particularly concerned by the threat to judicial independence

posed by Appellees’ alleged actions. Throughout her career, Judge Newman has

demonstrated a willingness to express her views without regard to how those

views will be perceived by her judicial colleagues. Her hundreds of dissenting

opinions have no doubt exasperated some of those colleagues at times, but the law

has benefitted from her willingness to express those dissenting views unabashedly.

If the Federal Circuit Judicial Council succeeds in shutting down Judge Newman

without going through the constitutionally prescribed process for removing Article

III judges from office, other judges may conclude that they should hesitate to act

boldly in defense of justice for fear of the adverse consequences of doing so.

      As the Supreme Court eloquently explained more than 150 years ago:

      [I]t is a general principle of the highest importance to the proper
      administration of justice that a judicial officer, in exercising the
      authority vested in him, shall be free to act upon his own convictions,
      without apprehension of personal consequence to himself. Liability to
      answer to every one who might feel himself aggrieved by the action of
      the judge, would be inconsistent with the possession of this freedom,
      and would destroy that independence without which no judiciary can be
      either respectable or useful.




                                         28
USCA Case #24-5173       Document #2089351           Filed: 12/12/2024    Page 37 of 39



Bradley v. Fisher, 80 U.S. 335, 347 (1871). See also Pierson v. Ray, 386 U.S.

547, 554 (1967) (the public benefits when judges are “at liberty to exercise their

functions with independence and without fear of consequences.”).

        Adherence to the constitutionally prescribed impeachment process ensures

that Article III judges can feel confident that their rulings will not endanger their

job security and that they cannot be removed from office except through a rigorous

process that entitles them to raise all plausible defenses before an impartial Senate

jury.

                                  CONCLUSION

        The Court should reverse the judgment below and render judgment

for Judge Newman.

                                        Respectfully submitted,

                                        /s/ Richard A. Samp
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                                          29
USCA Case #24-5173       Document #2089351            Filed: 12/12/2024    Page 38 of 39



                       CERTIFICATE OF COMPLIANCE

      I am an attorney for the amici curiae. Pursuant to Fed.R.App.P.

32(a)(7)(C), I hereby certify that the foregoing brief is in 14-point, proportionately

spaced Times New Roman type. According to the word processing system used to

prepare this brief (WordPerfect X8), the word count of the brief is 6,363, not

including the certificate as to parties, Rule 29(d) certificate, table of contents, table

of authorities, glossary, certificate of service, and this certificate of compliance.



                                         /s/ Richard A. Samp
                                         Richard A. Samp

December 12, 2024
USCA Case #24-5173      Document #2089351           Filed: 12/12/2024   Page 39 of 39



                         CERTIFICATE OF SERVICE

      I hereby certify that on this 12th day of December, 2024, I electronically

filed this amicus curiae brief with the Clerk of the Court for the U.S. Court of

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                                       /s/ Richard A. Samp
                                       Richard A. Samp
